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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA,
          Plaintiff,                                       Case No. 3:18-cv-00787(KAD)
v.

ZVI KAUFMAN,
         Defendant.
                                         JUDGMENT

        Pursuant to the Court’s January 11, 2021, Memorandum of Decision (Doc. 78),

judgment is entered as follows: Judgment is entered in favor of the United States and

against Defendant Zvi Kaufman, for unpaid civil penalties pursuant to 31 U.S.C. §

5321(a)(5) for his non-willful failure to timely file a Report of Foreign Bank and Financial

Accounts for calendar years 2008, 2009, and 2010,in the amount, as of January 11,

2021, of $41,137 (which includes, in addition to the FBAR penalty assessments of

$30,000, a late payment penalty imposed under 31 U.S.C. § 3713(e)(2) of $9,547.40,

and prejudgment interest of $1,591.23), plus additional accrued pre-judgment interest on

the FBAR penalty assessments as provided by 31 U.S.C. § 3717(a)(1) and accrued late

payment penalties under 31 U.S.C. § 3713(e)(2) from and after January 11, 2021, and

to the date of entry of this judgment. Post-judgment interest on the FBAR penalty

assessments shall accrue pursuant to 28 U.S.C. § 1961(a) and post-judgment late

payment penalties shall accrue pursuant to 31 U.S.C. § 3713(e)(2) and 31 C.F.R. §§

5.5(a) and 901.9, until the judgment is paid in full. It is therefore;

       ORDERED, ADJUDGED AND DECREED that judgment is entered in favor of the

Plaintiff as stated above and the case is closed.

       Dated at Bridgeport, Connecticut, this 4th day of January 2022.

                                                           DINAH MILTON KINNEY, Clerk

                                                           By: /s/ Kristen Gould
                                                              Kristen Gould
EOD: 1/04/2022                                                 Deputy Clerk
